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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



PHARMACEUTICAL RESEARCH &
MANUFACTURERS OF AMERICA et al.,

               Plaintiffs,

       v.                                             Civil Action No. 20-3402 (TJK)

DEPARTMENT OF HEALTH & HUMAN
SERVICES et al.,

               Defendants.



                                 MEMORANDUM OPINION

       The Department of Health and Human Services is considering allowing prescription drugs

to be imported from Canada under a statute that has lain dormant for decades. Plaintiffs, a collec-

tion of organizations with various interests in American healthcare, say that decision would be

mistaken and that it was started by unlawful processes. But no organization, nor any of their

members, faces a concrete risk of harm from the inchoate importation program, as is required when

suing. So the Court must dismiss this case for lack of standing.

I.     Background

       The challenged agency action is the first step on a path to legal importation of prescription

drugs. To contextualize that development, the Court begins by explaining why it is significant.

The Court is resolving a motion to dismiss, so the facts below are drawn from Plaintiffs’ complaint.

       A.      Legal Background

       Congress has prohibited the introduction of new drugs into interstate commerce without

approval from the Food and Drug Administration. See 21 U.S.C. §§ 331(d), 355(a). The FDA
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considers many factors before approving a prescription drug, including evidence of its safety and

efficacy, its “composition,” the method of its “manufacture, processing, and packing,” and its pro-

posed labeling. See id. § 355(b)(1)(A). A drug may not be introduced if it is “adulterated or

misbranded.” Id. § 331(a).

       The FDA’s approval is tied to a particular production-and-distribution process. A drug is

not approved if it the manufacturer uses “unapproved production lines,” even if the same facility

produces another version of the same drug that is approved. See HHS Task Force on Drug Impor-

tation, Dep’t of Health & Hum. Servs., Report on Prescription Drug Importation 3–4 (2004)

(“HHS Drug Importation Report”). Such drugs likely share “significant similarities” with ap-

proved drugs, but they do not meet the exacting standards of FDA approval. See id. at 4.

       Thus, the FDA has historically recognized only two ways to import prescription drugs le-

gally. The first is to make the drug in a foreign-but-FDA-inspected facility and complete the or-

dinary approval process. See HHS Drug Importation Report at 3. The second is to make an ap-

proved drug in the United States, send it abroad, and reimport it. See id. The latter method requires

the importer to be the original manufacturer. 21 U.S.C. § 381(d)(1)(A).

       Proper labeling is another obstacle to importing prescription drugs. A drug’s label must

not be “false or misleading in any particular.” See 21 U.S.C. § 352(a)(1). And an approved appli-

cation for a new drug is based in part on “[t]he proposed text of the labeling” to be used. See 21

C.F.R. § 314.50(c)(2)(i). But “foreign labeling differs from domestic labeling.” In re Canadian

Import Antitrust Litig., 470 F.3d 785, 790 (8th Cir. 2006). For that reason alone, even a foreign

drug that is otherwise identical to an approved, domestic drug cannot be imported without special

authorization. Id. at 790–91.




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        Moreover, the domestic drug supply chain is strictly monitored. See generally 21 U.S.C.

§ 360eee-1. Drug wholesalers and dispensers must, among other things, verify that the drugs they

carry have unique product identifiers, that they have a product’s transaction history, and that they

trade only with approved partners. Id. § 360eee-1(c)(1)(A)(i), (c)(2)–(3), (d)(1)(A)(i), (d)(2)–(3).

The idea, as the Eighth Circuit has explained, is to maintain a “closed system designed to guarantee

safe and effective drugs for consumers in the United States.” Canadian Import, 470 F.3d at 790

(quotation omitted). And that closed system “has effectively precluded importation of [prescrip-

tion] drugs.” Id. at 791.

        Congress has, however, laid the groundwork for cutting through that red tape. It enabled

HHS to promulgate “regulations permitting pharmacists and wholesalers to import prescription

drugs from Canada into the United States.” 21 U.S.C. § 384(b). That authorization is subject to

several limitations, including those related to testing of imported drugs and modified labeling, as

well as many requirements that apply to applications for new domestic drugs. See id. § 384(c),

(e), (h).

        More importantly, that authorization is subject to a precondition. The statute “shall become

effective only if the Secretary [of Health and Human Services] certifies to the Congress that the

implementation” will satisfy two criteria. 21 U.S.C. § 384(l)(1). Importation from Canada must

both “(A) pose no additional risk to the public’s health and safety; and (B) result in a significant

reduction in the cost of covered products to the American consumer.” Id.

        Several HHS Secretaries have declined to certify those conclusions. The first HHS Secre-

tary to consider the problem explained to Congress, “I cannot make the determination called for

in the statute because of serious flaws and loopholes in the design of the new drug reimportation

system. . . . [It is] impossible for me to demonstrate that [importation from Canada] is safe and




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cost effective.” 1 Similarly, in 2004, an HHS task force concluded that “[l]egalized importation of

drugs in such a way that creates an opening in the ‘closed’ system will likely result in some increase

in risk.” HHS Drug Importation Report at 35. And in 2018, HHS Secretary Alex Azar derided

drug importation as a “gimmick” that would “have no meaningful effect” on drug prices. 2

       The statutory drug-importation scheme has thus lain dormant for most of its history, and

importing drugs from Canada or elsewhere has remained effectively illegal.

       B.      Factual Background

               1.      The Agency Action

       The challenged agency action began a potential change to that status quo. In 2019, HHS

proposed partially implementing the drug-importation statute. See generally Importation of Pre-

scription Drugs, 84 Fed. Reg. 70796 (Dec. 23, 2019) (“NPRM”). Its proposal was to “allow com-

mercial importation of certain prescription drugs from Canada through time-limited programs

sponsored by at least one non-federal governmental entity.” Id. at 70798. That implementation is

partial in one sense because the statute contemplates individual—not just commercial—importa-

tion. See 21 U.S.C. § 384(j). And it is partial in another sense because the implementation does

not itself permit any drug to be imported—a point that requires further explanation.

       HHS proposed implementing the statute via state- or tribal-run programs that would iden-

tify particular drugs that satisfy the statutory criteria and arrange to import them. See NPRM, 84

Fed. Reg. at 70797.       That is, it proposed shifting the importation onus to “non-federal



1
 Letter from Donna E. Shalala, Sec’y of Health & Hum. Servs. to William J. Clinton, President
of the United States (Dec. 26, 2000), reprinted in 149 Cong. Rec. 15490, 15528–29 (2003).
2
 Hearing on the Department of Health and Human Services’ Fiscal Year 2019 Budget Request
Before the H. Comm. on Ways & Means, 115th Cong. 85 (2018) (statement of Alex Azar, Sec’y
of Health & Hum. Servs.).



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governmental entities,” perhaps joined by a “pharmacist” or “wholesaler,” to find Canadian drugs

that could safely and cheaply be imported. See id. Qualifying drugs would be approved for sale

in Canada and would be approvable in the United States but for their labeling. Id. It called such

a hypothetical program an “SIP” and an interested nonfederal governmental entity an “SIP Spon-

sor.” Id. 3

        HHS did not suggest authorizing any particular SIP. Instead, it invited SIP proposals. See

NPRM, 84 Fed. Reg. at 70801. A successful proposal would need to show that the selected drugs

could satisfy the statutory preconditions—that “importation will pose no additional risk to the

public’s health and safety,” and that it “would result in a significant [cost] reduction.” Id. at 70802.

Similarly, it would need to satisfy the remaining statutory criteria, including those related to test-

ing, registration of foreign sellers, and labeling. See id.; 21 U.S.C. § 384(d)–(h). But even if a

proposal satisfied the proposed rule’s criteria, the rule made clear that the FDA would retain “dis-

cretion” to deny the proposal anyway. NPRM, 84 Fed. Reg. at 70802.

        In other words, HHS announced that it was considering a conditional certification of the

statutory precondition. See NPRM, 84 Fed. Reg. at 70803. The certification would be “condi-

tioned on each authorized SIP meeting the relevant requirements.” Id. Thus, although the proposal

contained proposed regulations to implement the drug-importation statute—which could lawfully

exist only after HHS had effected the statute by certifying the preconditions—HHS explained that

it would consider comments it received on that proposal when deciding whether to certify the

preconditions at all. See id. With that explanation, it invited public comment.




3
 “SIP” stands for “Section 804 Importation Program.” NPRM, 84 Fed. Reg. at 70798. Section
804 is the relevant section of the Food, Drug, and Cosmetic Act, codified at 21 U.S.C. § 384.



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       Several months later, President Trump ordered the HHS Secretary to complete that “rule-

making process” and “to allow importation of certain prescription drugs from Canada.” Exec.

Order No. 13938 § 2(c), 85 Fed. Reg. 45757, 45757 (July 24, 2020). Shortly after that order, the

Secretary certified the preconditions of the drug-importation statute, and HHS issued a final rule

inviting SIP proposals.

       The Secretary’s certification noted its conditional character. Although it explained that

implementing the commercial portion of the statute would not increase risks and would signifi-

cantly cut costs, it did so “limited to implementation . . . through the final rule.” ECF No. 34-3

at 2. It refused to authorize “any other method of implementing” the statute. Id. And it explained

the nature of the SIP programs for which the final rule would invite proposals. Id. at 2–3.

       The final rule mirrors the proposed rule. See generally Importation of Prescription Drugs,

85 Fed. Reg. 62094 (Oct. 1, 2020) (“Final Rule”) (codified at 21 C.F.R. § 251.1 et seq.). It contains

two contingencies for any potential drug importation. First, as already explained, the FDA must

approve an application to sponsor an SIP. See id. at 62094. Second, even if an SIP is approved,

an importer must get the FDA’s approval to bring any particular shipment of drugs into the country

by filing a pre-import request. See id. at 62095; 21 C.F.R. § 251.5(a).

       Under certain circumstances, the final rule imposes obligations on drug manufacturers—

regardless of whether they endorse a drug’s importation. A “complete Pre-Import Request” in-

cludes information that only a manufacturer can provide. See 21 C.F.R. § 251.5(c). So if an SIP

is approved, and an importer wishes to submit a pre-import request, the importer must demand

information from the manufacturer. See id. § 251.5(d), (e). After receiving such a demand, a

manufacturer must respond within “30 calendar days.” Id. For some responses, manufacturers

have no choice—they must provide the information specified in the regulation. See, e.g., id.




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§§ 251.5(e)(2), 251.13(a). For others, they may choose among discrete options, for instance,

whether to test imported drugs themselves at their own cost or to facilitate testing elsewhere by

providing information. See id. §§ 251.5(c)(4)(xii), 251.5(d), 251.16(e). For those reasons, among

others, HHS recognized that the final rule may impose costs on “manufacturers of imported

drugs . . . if their drugs are imported.” Final Rule, 85 Fed. Reg. at 62095.

       As of the filing of Plaintiffs’ operative complaint, 4 at least two SIP proposals have been

filed, but none have been approved. Florida has applied to sponsor an SIP that would allow it to

import “approximately 100 drugs” from Canada. ECF No. 31 (“Compl.”) ¶ 94. It has also “con-

tracted with a third-party, private logistics firm” to help it administer the proposed SIP and “iden-

tified a foreign seller” of at least some drugs it wishes to import. Compl. ¶¶ 92–93. The Florida

legislature has appropriated funds to support an SIP, and Florida has constructed a warehouse “to

store drugs imported under the SIP.” Compl. ¶¶ 96, 98. And Florida’s governor has explained in

a press conference that he expects the state’s application to be approved. Compl. ¶ 97. Similarly,

New Mexico has applied to sponsor an SIP, although Plaintiffs do not note the number of drugs it

wishes to import. Compl. ¶¶ 99–101. 5




4
  Because the Court is resolving a motion to dismiss, it is concerned with the “legal sufficiency of
the complaint.” See Carter v. Carson, 241 F. Supp. 3d 191, 197 (D.D.C. 2017). So it may consider
only “the state of things at the time of the action brought.” Mollan v. Torrance, 22 U.S. (9 Wheat.)
537, 539 (1824). The Court’s consideration of factual developments is thus frozen in time as of
the date Plaintiffs’ filed their amended complaint. See Scahill v. District of Columbia, 909 F.3d
1177, 1184 (D.C. Cir. 2018) (holding that allegations in an amended complaint control even if the
allegations in an original complaint failed to establish subject-matter jurisdiction). ECF No. 31
at 86. That said, the parties have not informed the Court of HHS’s approval of any SIP proposal
since the amended complaint was filed.
5
  SIP proposals are not public, so details about their contents are available only if a would-be
sponsor chooses to share them. See Compl. ¶ 106.



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       Four other states’ legislatures have passed laws directing the state to apply to sponsor an

SIP. Compl. ¶ 102. Colorado, Maine, and Vermont have released draft proposals that suggest

what such a proposal may ultimately contain. Compl. ¶ 103. Colorado’s draft, for example, fore-

tells a proposal “to import 168 drugs.” Compl. ¶ 104. But beyond those snippets, few details

about potential SIPs are publicly available. See Compl. ¶ 106.

               2.      Plaintiffs

       Plaintiffs are three organizations that each comprise other entities interested in the impor-

tation of prescription drugs. The first is Pharmaceutical Research and Manufacturers of America

(“PhRMA”), an association whose membership includes drug manufacturers and other entities that

have information that might be sought in a pre-import request. Compl. ¶¶ 1, 113–19. The second

is the Partnership for Safe Medicines (“the Partnership”), an organization whose membership is

“committed to the accessibility of safe prescription drugs[ ] and protecting consumers against

counterfeit, substandard, or otherwise unsafe medicines.” Compl. ¶¶ 2–3, 120–27. Among its

members are other associations, including PhRMA, that represent drug manufacturers. Compl.

¶ 126. The third is the Council for Affordable Health Coverage (“the Council”), an organization

that “promotes policies that lower health costs through increased competition, informed consum-

ers, and more choices.” Compl. ¶¶ 4, 128.

       Plaintiffs oppose the Secretary’s certification and the final rule for three broad reasons.

First, they believe importing drugs from Canada is dangerous and unlikely to reduce costs to con-

sumers. See Compl. ¶¶ 109, 113, 120–25, 128. Second, they are procedurally unsatisfied with the

certification and rule—both in the procedures used to issue the certification and in the rule’s im-

plications for their ability to participate in future SIP proposals. See Compl. ¶¶ 110–12, 119, 127–

28. Third, they object to burdens on drug manufacturers—both those that an approved SIP and

subsequent pre-import request would impose and those that might result from importing unsafe


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drugs. See Compl. ¶¶ 114–17, 126. Similarly, they point out that manufacturers “have already

been forced to incur costs to ensure compliance” with future pre-import requests that they might

receive, given the short notice that such requests would afford. Compl. ¶ 118.

       Plaintiffs’ concern about harms to their constituent drug manufacturers takes many forms.

At the pre-import-request stage, they point to costs incurred in responding to requests and to the

loss of trade secrets if they must divulge protected information. See Compl. ¶¶ 115(a), 118. Dur-

ing the importation process, they assert harms in the form of testing costs, trademark infringement

in their being forced to authorize importers to use their labeling, and unlawful compelled speech

via a required attestation about the drug’s compliance with regulatory requirements. Compl.

¶¶ 115(b), 117–18; see also 21 C.F.R. § 251.5(c)(4)(xii). After importation, they fear increased

competition, derogation of statutory exclusivity rights, reduced patent values, and, from dangerous

drugs, eroded goodwill, potential products-liability suits, and increased expenditures on safety

protections and consumer education. Compl. ¶¶ 114, 115(c), 116.

       C.      Procedural History

       Plaintiffs sued seeking to vacate the certification and final rule. ECF No. 1 at 68. Defend-

ants moved to dismiss the complaint for lack of subject-matter jurisdiction and, alternatively, for

failure to state a claim. ECF No. 26. Plaintiffs then amended their complaint. ECF No. 31. That

amendment mooted Defendants’ original motion.

       Defendants responded with a renewed motion to dismiss. ECF No. 34. They again contend

that the Court lacks subject-matter jurisdiction over Plaintiffs’ claims, ECF No. 34-1 at 27–52,

and, alternatively, that two of Plaintiffs’ procedure-based claims should be dismissed for failure to

state claims, id. at 52–55. Plaintiffs, joined by an amicus, oppose that motion. ECF Nos. 35, 43.

Another amicus supports Defendants’ position. ECF No. 28.




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II.    Legal Standards

       Defendants’ Motion relies on Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6). Un-

der Rule 12(b)(1), Plaintiffs have the burden to establish standing. Little v. Fenty, 689 F. Supp. 2d

163, 166–67 (D.D.C. 2010). That burden “grows heavier at each stage of the litigation.” Osborn

v. Visa Inc., 797 F.3d 1057, 1063 (D.C. Cir. 2015). To survive a motion to dismiss, Plaintiffs need

only allege a qualifying “injury resulting from [Defendants’] conduct.” Id. (quoting Lujan v. Defs.

of Wildlife, 504 U.S. 555, 561 (1992)). The Court must “assume the truth of all material factual

allegations in the complaint and . . . grant[ Plaintiffs] the benefit of all inferences that can be de-

rived from the facts alleged.” Am. Nat. Ins. Co. v. FDIC, 642 F.3d 1137, 1139 (D.C. Cir. 2011)

(quotation omitted).

       Still, factual allegations demand “closer scrutiny when resolving a Rule 12(b)(1) motion

than would be required for a Rule 12(b)(6) motion.” Tex. Low Income Hous. Info. Serv. v. Carson,

427 F. Supp. 3d 43, 52 (D.D.C. 2019) (quotation omitted). The Court cannot “accept inferences

drawn by plaintiffs if such inferences are unsupported by the facts.” Trudeau v. FTC, 456 F.3d

178, 193 (D.C. Cir. 2006) (quotation omitted). And the Court may consider the allegations in

Plaintiffs’ complaint, undisputed facts in the record, and, if necessary, its resolution of disputed

facts. Coal. for Underground Expansion v. Mineta, 333 F.3d 193, 198 (D.C. Cir. 2003).

       Under Rule 12(b)(6), Plaintiffs’ complaint must “contain sufficient factual matter . . . to

state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

(quotation omitted). A claim is plausible if “it contains factual allegations that, if proved, would

allow the court to draw the reasonable inference that the defendant is liable for the misconduct

alleged.” Hurd v. District of Columbia, 864 F.3d 671, 678 (D.C. Cir. 2017) (quotation omitted).

Again, the Court must “accept all the well-pleaded factual allegations of the complaint as true and

draw all reasonable inferences from those allegations in the plaintiff's favor.” Id. (quotation


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omitted). But it must disregard “a legal conclusion couched as a factual allegation.” Cason v.

NFL Players Ass’n, 538 F. Supp. 3d 100, 109 (D.D.C. 2021) (quotation omitted).

III.    Analysis

        Plaintiffs bring seven claims. The first three contend that the certification violated the

Administrative Procedure Act (“APA”), Compl. ¶¶ 129–152, and the last four assert that the final

rule violates the APA and the First Amendment, Compl. ¶¶ 153–90.

        But the Court cannot address any of those claims unless it determines that Plaintiffs have

standing. See Freedom Watch, Inc. v. McAleenan, 442 F. Supp. 3d 180, 186 (D.D.C. 2020); see

also Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 94 (1998). To establish standing, Plain-

tiffs’ complaint must have “clearly allege[d] facts demonstrating” Plaintiffs have “(1) suffered an

injury in fact, (2) that is fairly traceable to the challenged conduct of the defendant[s], and (3) that

is likely to be redressed by a favorable judicial decision.” Spokeo, Inc. v. Robins, 578 U.S. 330,

338 (2016) (alteration adopted). The alleged injuries must be particular to Plaintiffs; they may not

raise a “generally available grievance.” Lance v. Coffman, 549 U.S. 437, 439 (2007) (per curiam).

        As membership-based entities, Plaintiffs’ asserted injuries must be divided into two cate-

gories for standing purposes. The first category contains injuries that inure to Plaintiffs’ members.

Courts term standing based on such injuries “associational” and ask whether the entity has identi-

fied a particular member who would (1) “have standing to sue in his own right” based on (2) an

interest “germane” to the entity’s “purpose” and (3) whether the individual’s personal participation

in the suit is necessary. Chamber of Commerce of the U.S. v. EPA, 642 F.3d 192, 199–200 (D.C.

Cir. 2011). The second category contains injuries directly to the plaintiff entities. Courts term

standing based on such injuries “organizational” and treat the entity as they would “an individual

plaintiff.” People for the Ethical Treatment of Animals v. U.S. Dep’t of Agric., 797 F.3d 1087,

1093 (D.C. Cir. 2015).


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       Here, the parties focus their dispute on injuries to Plaintiffs’ members. So the Court begins

by addressing associational standing.

       A.      Plaintiffs Lack Associational Standing Because It Is Speculative Whether,
               When, and How Their Membership Will Suffer Injury

       The first associational-standing question is whether any of Plaintiffs’ members could sue

in their own right. That is, Plaintiffs must “show that at least one specifically-identified member

has suffered an injury-in-fact” or that such an injury is “imminent.” Am. Chemistry Council v.

Dep’t of Transp., 468 F.3d 810, 820 (D.C. Cir. 2006). Reliance on imminent injuries does not

remove the need to allege “a specific harm to a specific party.” Id. at 820–21.

       An injury-in-fact is “an invasion of a legally protected interest” that is “concrete and par-

ticularized.” Lujan, 504 U.S. at 560. An injury is concrete if it is “real, and not abstract.” Robins,

578 U.S. at 340 (quotations omitted). An injury is particular if it “affects the party asserting stand-

ing ‘in a personal and individual way.’” Defs. of Wildlife v. Perciasepe, 714 F.3d 1317, 1323 (D.C.

Cir. 2013) (quoting Lujan, 504 U.S. 560 n.1). Thus, a particular injury cannot rest on “a statistical

probability” that some unknown members will suffer a concrete injury. See Summers v. Earth

Island Inst., 555 U.S. 488, 497 (2009).

       Plaintiffs assert three types of associational injuries. The first class of injuries hinges on,

at least, the approval of an SIP and the filing of a pre-import request. ECF No. 35 at 31–32. Some

of those injuries also depend on the importation of drugs, among other contingencies. Id. at 32.

The second class comprises costs already incurred to prepare for the possibility of an SIP approval.

Id. at 29–31. The third class contains procedural injuries. Id. at 26–29.

       The cognizability of each of those injuries, as the Court will explain, depends on the like-

lihood that an individual member’s drug or drugs will be the subject of a pre-import request under




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an approved SIP. 6 Because it is impossible to do more than speculate about that likelihood, Plain-

tiffs have not established an injury-in-fact.

               1.      Injuries Contingent on the Preparation of a Pre-import Request

       The FDA has yet to approve an SIP. See Compl. ¶ 106. So the alleged injuries in the first

category are future injuries. And the Plaintiffs’ burden to establish standing here is “significantly

more rigorous.” Chamber of Commerce, 642 F.3d at 200 (quotation omitted).

       There are two alternative tests for cognizability of future injuries. The first asks whether a

“threatened injury” is “certainly impending,” rather than merely “possible.” Clapper v. Amnesty

Int’l USA, 568 U.S. 398, 409 (2013) (quotations and emphasis omitted). The second asks whether

“there is a substantial risk that the harm will occur.” Susan B. Anthony List v. Driehaus, 573 U.S.

149, 158 (2014) (quotation omitted). Plaintiffs have shown an injury-in-fact if they can satisfy

either test. Attias v. Carefirst, Inc., 865 F.3d 620, 626–27 (D.C. Cir. 2017).

       Neither an SIP authorization with definite terms nor a particular pre-import request is cer-

tainly impending. Momentarily setting aside the many potential defects in an SIP application, the

FDA retains discretion to deny even an SIP proposal that meets the regulatory requirements. 21

C.F.R. § 251.4(a). That discretion alone “vitiates” any claim that an authorization is “certainly

impending.” See de Ramirez v. Barr, No. 18-1516 (PLF), 2019 WL 4750373, at *4 (D.D.C. Sept.

30, 2019) (quoting Clapper, 568 U.S. at 401). Plaintiffs cannot say that the certification or the

final rule “will certainly cause” them any future harm because there is at least a possibility that no


6
  Recall that the FDA must approve a pre-import request before an importer can bring drugs into
the country, 21 C.F.R. § 251.5(a), and that an importer’s request to a manufacturer to help it com-
plete a pre-import request triggers the manufacturer’s obligations under the rule, see id. § 251.5(d),
(e)(2). And a pre-import request cannot be made until the FDA authorizes an SIP. See id.
§ 251.5(b), (c)(2). Thus, the event relevant to assessing the likelihood of injuries to Plaintiffs’
members is an importer’s decision to prepare a pre-import request, which turns on a prior SIP
approval.



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SIP will ever win approval. See Pub. Citizen, Inc. v. Trump, 297 F. Supp. 3d 6, 21 (D.D.C. 2018).

Indeed, Plaintiffs do not appear to contend otherwise. See ECF No. 35 at 33–35 (arguing under

the “substantial-risk” test and asserting that “SIP approval is likely in the near future” (emphasis

omitted)). So Plaintiffs must make their stand on the second test.

       To show an injury from increased risk, Plaintiffs must “show both (i) a substantially in-

creased risk of harm and (ii) a substantial probability of harm with that increase taken into ac-

count.” Food & Water Watch, Inc. v. Vilsack, 808 F.3d 905, 914 (D.C. Cir. 2015) (quotation and

emphasis omitted). That standard is not an end-run around the constitutional requirement that

future injuries be imminent, but another way to assess imminence. See id. at 915. And the immi-

nence requirement “compels a very strict understanding of what increases in risk and overall risk

levels can count as substantial.” Id. (quotation omitted). At the very least, substantiality requires

that the “nature of the injury alleged” is not “speculative.” See Elec. Priv. Info. Ctr. v. FAA, 892

F.3d 1249, 1255 (D.C. Cir. 2018) (“EPIC II”). If a court “can only speculate” about whether and

how an injury will occur, that is “ordinarily fatal to standing.” See Elec. Priv. Info. Ctr. v. Presi-

dential Advisory Comm’n on Election Integrity, 878 F.3d 371, 379 (D.C. Cir. 2017) (“EPIC I”).

       To analyze Plaintiffs’ “increased-risk-of-harm claim,” the Court must “consider the ulti-

mate alleged harm . . . as the concrete and particularized injury and then . . . determine whether the

increased risk of such harm makes injury to an individual citizen sufficiently imminent.” Food &

Water Watch, 808 F.3d at 915 (quotation omitted). That standard is hard to meet where the harm-

causing event is still “subject . . . to regulatory processes and approvals.” See Ctr. for Biological

Diversity v. Bernhardt, 490 F. Supp. 3d 40, 52 (D.D.C. 2020). In such cases, determining whether

the agency will act and, if so, how, often requires speculation. See, e.g., id.




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       The ultimate alleged harms here, if they materialize, are sufficiently concrete. That is be-

cause they are financial and, in the case of the compelled-speech claim, constitutional. See, e.g.,

Thole v. U.S. Bank N.A., 140 S. Ct. 1615, 1619 (2020) (explaining that a financial loss would, “of

course,” support standing); Valley Forge Christian Coll. v. Ams. United for Separation of Church

& State, 454 U.S. 464, 485–86 (1982) (acknowledging that a “personal injury suffered . . . as a

consequence of the alleged constitutional error” is sufficiently concrete to confer standing (em-

phasis omitted)). But even the least contingent of those alleged harms lacks a substantial proba-

bility of materializing, so none is imminent.

       When a future injury depends on a pending agency approval, three questions shed light on

the injury’s imminence. First, will the agency approve an application? See Teva Pharms. USA,

Inc. v. Azar, 369 F. Supp. 3d 183, 203 (D.D.C. 2019) (explaining that there was “no guarantee that

the FDA [would] approve any existing” new-drug application); Ipsen Biopharms., Inc. v. Becerra,

No. 20-2437 (DLF), 2021 WL 4399531, at *5 (D.D.C. Sept. 24, 2021) (similar). Second, if it

approves the application, when will it do so? See Teva, 369 F. Supp. 3d at 203 (“[T]he Court has

no means of assessing . . . when [an approval] is likely to occur.”). Third, even if the agency will

soon approve an application, what will the terms of the approval be? See id. at 204 (noting that a

future amendment to a pending application might forfeit the right the plaintiff sued to assert).

       Plaintiffs’ allegations address only the first question—and they are weak even on that

score. They ask the Court to infer the FDA will approve an SIP based on four facts: (1) that at

least two SIP proposals are pending before the FDA; (2) that Florida’s governor said, in a press

conference, that he expected the state’s application to be approved; 7 (3) that Florida has invested


7
 Plaintiffs claim the governor’s comments reflect “what Biden Administration officials told him.”
ECF No. 35 at 34 (emphasis omitted). But this was the precise exchange on which they rely:




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money in running an SIP; and (4) that President Biden has directed the FDA Commissioner to

“work with States and Indian Tribes that propose to develop [SIPs].” 8 ECF No. 35 at 33–35 (citing

Compl. ¶¶ 3, 92–94, 97, 106, 108). At most, those allegations establish that Florida’s leadership

expects its SIP proposal to be approved and that the FDA is considering doing so. But expectations

may be wrong, and intentions may change. Plus “judicial experience and common sense” teach

that the outcome of a complex bureaucratic processes—absent, for example, preexisting “tentative

approval”—is difficult to predict. See Teva, 369 F. Supp. 3d at 195, 203–04 (quotation omitted).

         In any event, no injury to the Plaintiffs is imminent even if the Court assumes an SIP will

eventually be approved. That is because, on this record, the Court could only speculate about

when such an approval will occur and, more importantly, on what terms.

         Plaintiffs’ allegations establish next-to-nothing about the timing of an SIP approval. In-

deed, the only relevant allegations are the same used to establish that the FDA will authorize an




         REPORTER: But the hurdle is getting the okay from the FDA under Biden?

         GOVERNOR DESANTIS: From the Biden administration, yeah. And look, we
         were told, [our SIP proposal is] still under review, [and] if it’s not nixed by [May
         2021], then they said we were going to be okay. But we haven’t gotten the affirm-
         ative to do it, and so that’s one of the reasons why we just want to make sure it’s
         clear to everybody that we’ve [satisfied the requirements for an SIP application].

WPBF 25 News, Gov. DeSantis Holds News Conference, YouTube 28:38–29:30 (May 28, 2021),
https://www.youtube.com/watch?v=XiwRK5qh5i0. The Court considers the full exchange be-
cause statements at the press conference constitute “undisputed facts evidenced in the record,”
Coal. for Underground Expansion, 333 F.3d at 198, and the video is “incorporated by reference in
the complaint,” Elec. Priv. Info. Ctr. v. IRS, 575 F. Supp. 3d 84, 88 (D.D.C. 2021) (“EPIC III”)
(quotation omitted); see also Compl. ¶ 97. In full context, it is far from clear from the governor’s
remarks that “federal officials have informed . . . the State of Florida[ ] that authorization of its
application was certain and imminent as of May 2021.” Compl. ¶ 108. It is not even clear that the
unnamed speaker who said Florida would “be okay” was a member of the administration or, if so,
what his or her role in the approval process was.
8
    Exec. Order 14036 § 5(q), 86 Fed. Reg. 36987, 36997–98 (July 9, 2021).



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SIP. For example, Plaintiffs say the Florida legislature’s decision to allocate funds to implement

its SIP is “[i]n keeping with [its] apparent belief that SIP approval was imminent.” Compl. ¶ 98.

But again, a third party’s beliefs, without more, reveal barely anything about duration of a process

outside that party’s control. The final rule specifies no timeframe within which the FDA must act

on an SIP proposal; it says only that a final decision must be conveyed in writing. See 21 C.F.R.

§ 251.4(c)(2). Even so, the rule obliquely suggests a long process by noting that a pending pro-

posal may be denied if the would-be sponsor fails to find a foreign seller of drugs “within 6 months

of the initial submission.” Id. § 251.4(a). At bottom, it is nearly impossible to conclude anything

about a decision’s timing because no SIP has been authorized.

       That difficulty undercuts Plaintiffs’ standing arguments because imminence requires some

temporal certainty. True, standing under an increased-risk theory “depends on the probability of

harm, not its temporal proximity.” Orangeburg v. FERC, 862 F.3d 1071, 1078 (D.C. Cir. 2017)

(quotation omitted and emphasis added). That is, even a far-off harm is cognizable now if a court

can determine when and how an injury will materialize. See id. at 1079 (explaining that a plaintiff

would suffer the injury when it began negotiating a new contract, the timing of which was ascer-

tainable based on “historical practice”). But to avoid stretching the imminence requirement “be-

yond its purpose,” and neglecting components of the definition of imminence such as “immediate”

and “not remote,” the Court must be able to say something about a future injury’s timing. See Pub.

Citizen, Inc. v. Nat’l Highway Traffic Safety Admin., 489 F.3d 1279, 1293–94 (D.C. Cir. 2007)

(quotation omitted). For example, even if it is impossible to pinpoint when a harm will occur, the

harm is imminent if it is likely to happen “at any moment and with no notice.” See Olympic Fed.

Sav. & Loan Ass’n v. Director, 732 F. Supp. 1183, 1187–88 & n.3 (D.D.C. 1990). In such cases,

at least one aspect of an injury’s timing is clear: The whole risk bears on the plaintiff.




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       Attias helps illustrate how a risk can have temporal certainty. There, the D.C. Circuit con-

cluded that a risk of harm was imminent because hackers already had “accessed personally iden-

tifying data” and had “both the intent and the ability to use that data for ill.” Attias, 865 F.3d at

628. The full risk was present when the complaint was filed—it did not depend on a “long se-

quence of uncertain contingencies.” Id. at 629. The Attias plaintiffs were thus likely to experience

identity theft at any moment. Cf. also Olympic Fed. Sav. & Loan, 732 F. Supp. 3d at 1187.

       The same cannot be said here. Even the first potential harm to Plaintiffs will be experi-

enced only when the FDA, at some point, authorizes an SIP, and then an importer decides, at some

point, to prepare a pre-import request. So not only is there at least one “uncertain contingenc[y]”

between Plaintiffs and the immediate risk of harm, Attias, 865 F.3d at 629, but there is also no

certain date by which that contingency will be eliminated, contra Orangeburg, 862 F.3d at 1078,

and no “historical practice” to inform even temporal guesswork, see id. at 1079. For those reasons,

Plaintiffs’ statement that the contingent harms will occur “in the near future,” ECF No. 35 at 33,

is mere speculation, which cannot support a finding of imminence, see Chamber of Commerce,

642 F.3d at 202.

       But even if the Court were to set aside the “if” and “when” questions about SIP applications

and pre-import requests, the remaining question—“how”—would defeat Plaintiffs’ standing. Re-

call that associational plaintiffs cannot rest on the “statistical probability” that some of their mem-

bers will suffer harm. Summers, 555 U.S. at 497. Courts in this district have divided over whether

an association must “identify an injured member by name at the motion to dismiss stage” or instead

a “lesser degree” of identification is enough. Conf. of State Bank Supervisors v. Office of the

Comptroller of the Currency, 313 F. Supp. 3d 285, 298–99 (D.D.C. 2018) (collecting cases). But

whether or not a name is needed, it must be possible to identify a specific member who faces the




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risk of harm. See id. at 299. That “identification requirement serves an important gatekeeping

role” where questions remain about which, if any, member of a plaintiff association will suffer

injury. See id.

       Plaintiffs cannot satisfy the identification requirement. That is because there is no way to

know which drugs will be included in an approved SIP and which of those drugs an SIP sponsor

will import. Plaintiffs explain that the SIP proposals with known contents—Florida’s, New Mex-

ico’s, and, to a lesser extent, Colorado’s—include requests to import drugs manufactured by mem-

bers of PhRMA and the Council. See Compl. ¶¶ 94, 101, 104. Even that allegation includes the

probabilistic qualifiers “most” and the “vast majority” regarding the subject drugs. Id. But more

importantly, the final rule provides that one way for the FDA to act on an SIP proposal is to “mod-

ify” the SIP. See 21 C.F.R. § 251.4. The rule also contemplates an interactive process where the

FDA may request “additional information” and the would-be sponsor may submit a “supplemental

proposal.” Id. § 251.4(c)(1). Because SIP proposals and the resulting deliberations are not public,

see Compl. ¶ 106, the Court cannot surmise whether a drug’s inclusion on an initial proposal will

survive deliberations between the FDA and the would-be sponsor. And a drug might be eliminated

from an SIP proposal for many reasons—for example, the inability to find a foreign seller. See 21

C.F.R. § 251.4(a). 9 Plaintiffs themselves have described to the FDA what they call “serious flaws

with [existing SIP] proposals.” Compl. ¶ 112. If they are right, remedying those flaws could

require substantial revisions of unknown dimensions.




9
  Plaintiffs allege that Florida has “identified a foreign seller for its SIP.” Compl. ¶ 93. But that
allegation, which is based on another statement at the May 2021 press conference, see id., need
not mean that the foreign seller can or will provide every drug listed in an initial proposal. The
final rule contemplates that it may be necessary “to add additional Foreign Sellers . . . to an au-
thorized SIP.” 21 C.F.R. § 251.8(c).



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       Plaintiffs, in other words, assert nothing more than the likelihood that some of their mem-

bers face a risk of harm. But unless “all the members of the organization[s] are affected by the

challenged activity,” the Court cannot “dispense[ ] with” the identification requirement. Summers,

555 U.S. at 498–99. And the fact that the Plaintiffs cannot do more than identify an aggregate risk

absent further regulatory developments shows that the identification requirement is not here an

empty formality—it highlights fundamental uncertainty about the nature of the supposedly im-

pending injury-in-fact. Cf. Chamber of Commerce, 642 F.3d at 203 (citing Am. Chemistry Coun-

cil, 468 F.3d at 820). Given that uncertainty, “the identity of the party suffering an injury” in the

form of a substantially increased risk of harm is far from “firmly established.” Am. Chemistry

Council, 468 F.3d at 820.

       In resisting that conclusion, Plaintiffs point to cases in which, as they put it, courts have

found “standing even when a plaintiff’s theory of harm rests on future government action.” ECF

No. 35 at 36. They rely particularly on Bennett v. Spear, 520 U.S. 154 (1997), and Sherley v.

Sebelius, 610 F.3d 69 (D.C. Cir. 2010). Of course, it is true that “the prospect of future government

action poses no categorical bar to suit.” ECF No. 35 at 37. But Bennett and Sherley illustrate why

the future government action at issue here is too uncertain to confer standing.

       The Bennett plaintiffs wished to challenge an agency opinion concluding that a water-rec-

lamation project jeopardized endangered species. 520 U.S. at 158–59. The relevant agency had

announced that it would “operate the project in compliance with the opinion.” Id. at 159. The

Court held that the plaintiffs had standing because they “receive[d] irrigation water” from part of

the project and the opinion recommended restrictions that would “substantially reduc[e] the quan-

tity of available irrigation water.” Id. at 167 (quotation omitted). The government objected that

“a diminution in the aggregate amount of available water [did] not necessarily establish . . . that




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[the plaintiffs would] receive less water.” Id. But the Court explained that it was “easy to presume

specific facts under which [the plaintiffs would] be injured—for example [a] reduction pro rata

among [project users].” Id. at 168.

       Bennett is inapposite for two reasons. First, it was decided under the old, lower pleading

standard under which a plaintiff could survive a motion to dismiss unless he could “prove no set

of facts in support of his claim which would entitle him to relief.” 10 Because a “plaintiff’s showing

of standing must be evaluated in light of the relevant stage of the proceeding,” the Court’s will-

ingness in Bennett to presume facts under which the plaintiffs would suffer injury has less force

under the contemporary, more demanding pleading requirements. Teva Pharms., 369 F. Supp. 3d

at 201. Second, the future government action was more definite than that here in two respects.

For one thing, the relevant agency had already committed to act. Bennett, 520 U.S. at 159. For

another, the future action would diminish a shared, fungible resource, and so it was natural to infer

that all who used it would suffer harm. See id. at 167–68. By contrast, the inference Plaintiffs ask

the Court to draw from their allegations is that the FDA will find importation of individual, distinct

drugs safe, cost effective, and feasible, see generally 21 C.F.R. § 251.3—a conclusion that Plain-

tiffs emphatically claim would be wrong. So there is no “clear marker[ ]” from which this Court

can safely predict how the FDA will “exercise [its] discretion.” Pub. Citizen, 297 F.3d at 22–23

(quoting Clapper, 568 U.S. at 412).

       The future injury in Sherley was much like that in Bennett. An agency action removed

funding limits on a federal grant program. Sherley, 610 F.3d at 70–71. Two repeat applicants for

grants under that program sued, alleging that the increased competition would make it harder for



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  Conley v. Gibson, 355 U.S. 41, 45–46 (1957), overruled by Bell Atlantic Corp. v. Twombly, 550
U.S. 544 (2007), and Iqbal, 556 U.S. 662; see also Teva Pharms., 369 F. Supp. 3d at 201.



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them to win grant money. Id. at 71. The D.C. Circuit held that they had standing because the

increased competition “for a share in a fixed amount of money” meant that they would “have to

invest more time and resources to craft a successful grant application.” Id. at 74. So like in Ben-

nett, an inference of harm was possible because of the relative diminution of a shared, fungible

resource. For the same reason, then, Sherley does not support standing here.

       In sum, even the least conjectural of Plaintiffs’ allegations about the increased risk of future

harm cannot satisfy the “rigorous burden” for establishing standing under such a theory. Chamber

of Commerce, 642 F.3d at 201 (quotation omitted). To predict whether and when a particular one

of Plaintiffs’ members will receive an informational demand from an importer, the Court can only

speculate. And the other forms of future injury they allege would require the Court to pile on still

further speculations. That conclusion is “fatal” to this theory of Plaintiffs’ standing. EPIC I, 878

F.3d at 379.

               2.      Injuries from Compliance Costs

       Plaintiffs, however, assert past and present financial injuries too. Specifically, they allege

that their members have already incurred “compliance costs” to prepare for future pre-import re-

quests once an SIP is authorized. ECF No. 35 at 29–31. Their efforts have included “developing

work flows and processes for responding to importer requests” and “identifying and compiling the

information needed to conduct the testing.” Compl. ¶ 118. They supplement those allegations

with the declarations of executives at twelve member companies, who explain how their compa-

nies have prepared for a potential pre-import request. See generally ECF Nos. 35-2–35-13. Such

preparation is reasonable, they explain, because the final rule gives them only 30 days to respond

to such a request. Compl. ¶ 118; see also 21 C.F.R. § 251.5(d), (e)(2).

       But Plaintiffs’ members’ efforts to mitigate potential future injury are inseparable from the

imminence of the future injuries themselves. Undoubtedly, as Plaintiffs point out, “exacerbated


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administrative costs [can] constitute a concrete and particularized injury.” New Jersey v. EPA,

989 F.3d 1038, 1046 (D.C. Cir. 2021); ECF No. 35 at 30. Yet the cognizability of such costs

depends on whether Plaintiffs have met the standard for alleging a “substantial increase in the risk

of harm.” Food & Water Watch, 808 F.3d at 919 (citing Clapper, 568 U.S. at 416). As the Court

has just explained, that is not so. And that requirement retains force even if the Plaintiffs’ compli-

ance efforts are a “sensible” response to a tight turnaround. See In re Sci. Applications Int’l Corp.

(SAIC) Backup Tape Data Theft Litig., 45 F. Supp. 3d 14, 26 (D.D.C. 2014). If it were otherwise,

anyone with reasonable fears of future harm could buy standing via self-inflicted expenditures,

irrespective of whether a risk is constitutionally substantial. See Clapper, 568 U.S. at 416.

       Indeed, Plaintiffs acknowledge that their compliance-costs theory depends on whether they

have “adequately alleged a substantial risk of future harm.” ECF No. 35 at 31 (quotation omitted

and alterations adopted). Because they have not, this theory fails.

               3.      Procedural Injuries

       The story is the same for Plaintiffs’ alleged procedural injuries. Among their claims are

contentions that the certification that effected the drug-importation statute should have happened

before HHS proposed a rule to implement the statute, Compl. ¶ 150, that the certification was a

rule that required an independent opportunity for notice and comment, Compl. ¶ 151, that the rule

deprives interested parties of notice and the opportunity to comment on or participate in individual

SIP proposals, Compl. ¶¶ 173–77, and that HHS failed to follow a statutory consultation require-

ment, Compl. ¶¶ 178–80. Those alleged procedural missteps, Plaintiffs say, independently confer

standing because the procedures were “connected to the substantive result” and they implicate

“concrete interests.” ECF No. 35 at 27 (quotations omitted and alteration adopted).

       But the cognizability of procedural injuries also depends on whether Plaintiffs have shown

a “substantial probability” of future harm. Ctr. for Biological Diversity v. EPA, 861 F.3d 174,


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184–85 (D.C. Cir. 2017) (quotation omitted). In other words, standing cannot be established by

“deprivation of a procedural right without some concrete interest that is affected by the depriva-

tion—a procedural right in vacuo.” Summers, 555 U.S. at 496. To assess whether a concrete

interest is cognizable, the Court must apply the same increased-risk-of-harm test it has already

applied. See Food & Water Watch, 808 F.3d at 921.

        Again, Plaintiffs acknowledge that their procedural-rights theory depends on whether they

have shown a substantial probability of future harm. ECF No. 35 at 29 n.10. Because they have

not, this theory fails too.

        Plaintiffs, then, have not identified a particular member who would “have standing to sue

in his own right.” Chamber of Commerce, 642 F.3d at 199. So they cannot proceed on an associ-

ational-standing theory.

        B.      Plaintiffs Lack Organizational Standing Because the Certification and Rule
                Are, At Most, Setbacks to Their Abstract Social Interests

        That leaves organizational standing. An organization pleads a concrete injury by alleging

facts showing that the challenged action has “perceptibly impaired” its “activities,” leading to a

“drain on the organization’s resources.” Havens Realty Corp. v. Coleman, 455 U.S. 363, 379

(1982). A “setback to the organization’s abstract social interests,” by contrast, is not enough. Id.

        Courts in this Circuit use a two-part test to apply that standard. Tex. Low Income Hous.,

427 F. Supp. 3d at 52. First, they assess the alleged impairment to the organization’s activities.

EPIC I, 878 F.3d at 378. The impediment must frustrate the organization’s “daily operations.”

Food & Water Watch, 808 F.3d at 919 (quotation omitted). And there must be a “direct conflict

between the [defendants’] conduct and the organization’s mission.” EPIC II, 892 F.3d at 1255

(quotation and emphasis omitted). Second, courts ensure the organization “used its resources to

counteract that harm.” EPIC I, 878 F.3d at 378 (quotation omitted). That effort cannot be a “self-



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inflicted budgetary choice.” Id. at 379 (quotation omitted). So litigation costs or extra advocacy

efforts do not count. Food & Water Watch, 808 F.3d at 919.

       Plaintiffs do not advance a theory of organizational standing, but they do allege injuries to

themselves—not just their members. Some of those injuries are not cognizable for the reasons

already explained. For example, Plaintiffs count themselves among the entities injured by proce-

dural deprivations. See Compl. ¶¶ 110, 112, 127–28. But the rules governing those alleged inju-

ries are, of course, no different than for other entities, so they cannot create standing either.

       The Partnership and the Council, however, also claim that the certification and rule will

impede their and their members’ advocacy efforts. They say, for instance, that drug importation

will harm “member organizations with a shared interest in the safety of the U.S. drug supply.”

Compl. ¶ 120, 128. Organizations that “combat[ ] the use misuse of prescription drugs,” they

predict, “will be forced to expend additional resources to curtail the circulation of unapproved,

misbranded, and adulterated drugs.” Compl. ¶ 121.

       Those allegations fail at the first step of the organizational standing test. They are proto-

typical statements of harm to “abstract social interests.” Havens Realty Corp., 455 U.S. at 379.

Plaintiffs nowhere allege that their ability to provide services has been “perceptibly impaired” or

describe any “inhibition” of their “daily operations.” Food & Water Watch, 808 F.3d at 919 (quo-

tation omitted). And simply put, “an organization’s use of resources for . . . advocacy is not suf-

ficient to give rise to an Article III injury.” Id. So Plaintiffs can no more maintain an organiza-

tional theory of standing than they could an associational theory.

                                           *       *       *

       Without a plaintiff with standing to challenge the certification or final rule, the Court lacks

subject-matter jurisdiction over this case. Haase v. Sessions, 835 F.2d 902, 906 (D.C. Cir. 1987).




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It thus cannot address Plaintiffs’ contentions on their merits. Steel Co., 523 U.S. at 94. And it

“must dismiss the complaint in its entirety.” Arbaugh v. Y&H Corp., 546 U.S. 500, 514 (2006).

IV.    Conclusion

       For all the above reasons, the Court will grant Defendants’ motion to dismiss insofar as it

seeks dismissal under Rule 12(b)(1). A separate order will issue.


                                                            /s/ Timothy J. Kelly
                                                            TIMOTHY J. KELLY
                                                            United States District Judge
Date: February 6, 2023




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